Dear Ms Subramanian:
You have requested of this Office an Opinion regarding whether the petition and supporting documents proposing the incorporation of Garyville as a municipality in the Parish of St. John the Baptist are in compliance with R.S. 33:1, et seq.
R.S. 33:1 states in pertinent part:
  § 1. Petition for incorporation; contents; circulation; required signatures
  A. Residents of any unincorporated area with a population in excess of two hundred inhabitants may propose the incorporation of the area as provided in this Subpart. A petition proposing the incorporation of the area shall be prepared and shall contain the following:
  (1) A legal description of the area proposed for incorporation and the statement that all lands included in the area constitute a contiguous area.
  (2) A statement of the number of inhabitants residing in the unincorporated area. Such statement shall be based on the latest federal decennial census or another current population report or count which is verifiable.
  (3) A statement of the assessed value of the real property located in the unincorporated area. *Page 2 
  (4) A listing of the public services the municipal corporation proposes to render to the area and a plan for the provision of these services.
  (5) A statement of the corporate name desired for the new municipality.
  (6) The names of two or more chairpersons for the petition for incorporation who shall serve as agents for the petitioners in all legal matters, including the receipt of notices. Notice will be sufficient if served on any one of the chairpersons.
In the Petition for Incorporation of Garyville, the Petitioners have a legal description of the area proposed for incorporation and the statement verifying that all lands included in the area proposed to be incorporated constitute a contiguous area, all of which comport with Section (I) of La.R.S. 33:1(A).
The petition meets the requirements of Section (2) by stating that there are 4,270 inhabitants according to the 2000 federal decennial census.
The petition represents that the assessed value of the real property located in the area is approximately $131,487,572 as reflected in the Office of the Assessor of St. John Parish which fulfills the requirements of Section (3).
Section (4) requires a listing of the public services the municipal corporation proposes to render to the area and a plan for the provision of these services. This is outlined in detail in the Petition thereby fulfilling that requirement.
The Petition satisfies the requirement of Section (5) by stating the name of the new municipality shall be the Town of Garyville which is clearly a statement of the corporate name desired for the new municipality.
Section (6) is satisfied by listing the names of the two chairpersons for the petition for incorporation who shall serve as agents for the petitioners in all legal matters, including the receipt of notices.
There is also a map included on the petition which represents the proposed area for incorporation and visually displays its contiguity. *Page 3 
Additionally, based upon information provided to the governor's office by the chairwoman of the incorporation committee, the industrial areas contained within the proposed incorporated area do not appear to have been legally designated as Industrial Areas as prescribed by law under La.R.S. 33:130.11, La.R.S. 33:130.13, La.R.S. 51:1202, or La.R.S. 51:1203. Should it be determined that these areas had not complied with the requirements of law prior to the filing of the Petition for Incorporation, then these areas may be included within the proposed Incorporated Area.
The Registrar of Voters for the Parish of St. John the Baptist has averred that the provisions of Paragraph B have been satisfied. She attests to this fact by stating:
1) there are 2636 qualified electors in the proposed area;
2) the required number of valid signatures would be 659 or 25% of the qualified electors;
3) the registrar certified at least 669 signatures to be valid;
4) the petition was submitted to the registrar on April 8, 2008, and the registrar certified the signatures and submitted the certified petition to the governor on April 11, 2008;
5) this is within the fifteen days afforded the registrar under La.R.S. 18:1300.3;
As the "Petition for Incorporation" for the proposed "Town of Garyville" satisfies all of the requirements of R.S. 33:1, it the opinion of this office that the proposal to determine whether the unincorporated area described in the petition shall become a municipality can be submitted to the voters on the next available election date, pursuant to R.S. 33:3.
  Yours very truly,
  JAMES D. "BUDDY" CALDWELL ATTORNEY GENERAL
  BY:__________________________ WILLIAM P. BRYAN, III Assistant Attorney General
  JDC/WPB, III/sfj